            Case 5:19-cv-05787-JMG Document 35 Filed 07/24/20 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAIMARIA BODOR,                           :
Individually and on behalf of all others  :
similarly situated                        :
                                          :
                  Plaintiffs,             :
                                          :
                  v.                      :                  Civil No. 5:19-cv-05787-JMG
                                          :
MAXIMUS FEDERAL SERVICES, INC.            :
                                          :
                  Defendant.              :
__________________________________________

                     ORDER EXTENDING DISCOVERY DEADLINES

       AND NOW, this 23rd day of July, 2020, upon consideration of the joint motion to extend

discovery deadline and dispositive motion deadline, ECF No. 34, and of the previous scheduling

order, ECF No. 26, IT IS HEREBY ORDERED THAT the April 10, 2020 Scheduling Order

(ECF No. 26) is AMENDED as follows:

       1.    Phase I, Part A Discovery is due on or before September 8, 2020.

       2.    Motions for summary judgment on the named Plaintiff’s claims, if any, shall be filed

by September 22, 2020. Responses shall be filed in accord with the Local Rules and this Court’s

Policies no later than October 6, 2020.

       All other deadlines remain in effect.


                                               BY THE COURT:



                                               /s/ John M. Gallagher
                                               JOHN M. GALLAGHER
                                               United States District Court Judge
